                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

 UNITED STATES OF AMERICA upon                     )
 the relation and for the use of the               )
 TENNESSEE VALLEY AUTHORITY,                       )
                                                   )
         Plaintiff,                                )    No. 3:20-cv-00365
                                                   )
 v.                                                )
                                                   )
 TREE-REMOVAL RIGHTS WITH                          )
 RESPECT TO LAND IN DAVIDSON                       )
 COUNTY, TENNESSEE, ROBIN E.                       )
 WILLIS, PNC BANK, ROUSHI                          )
 PAZOUKI, trustee, and MORTGAGE                    )
 ELECTRONIC REGISTRATION                           )
 SYSTEMS, INC., beneficiary and                    )
 nominee,                                          )
                                                   )
         Defendants.                               )


                       JUDGMENT AND ORDER DISBURSING FUNDS
       This action came on to be considered upon Plaintiff’s motion for summary judgment (Doc.

No. 25) as to just compensation, and the Court having determined that Defendant Robin E. Willis is

entitled to just compensation in the amount of $550, that Plaintiff has deposited with the registry of

this Court the sum of $550, and that disbursement of the deposited sum, plus any accrued interest

thereon less the applicable registry fee, is provided for herein.

       Accordingly,

       1. Defendants shall recover of the Plaintiff $550 as full compensation for the taking of the

land herein condemned, and Defendant Robin E. Willis shall receive all of that amount.

       2. The Clerk of this Court is authorized and directed to draw a check on the funds on deposit

in the registry of this Court in the amount of $550, plus any accrued interest thereon less the

applicable registry fee, payable, to Robin E. Willis, in full satisfaction of this Judgment and Order



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Disbursing Funds (Judgment), and to mail said check to Robin E. Willis, Nashville, Tennessee, in

full satisfaction of this Judgment.

       Any such disbursement should be conditioned, however, on Ms. Willis providing her social

security number to the Clerk of Court and to Tennessee Valley Authority for purposes of reporting

the compensation award, and any interest thereon, to federal taxing authorities.

       3. The vesting of title in the United States of America, free of all liens, claims, and

encumbrances, as evidenced by the Declaration of Taking filed herein on April 29, 2020 (Doc. 2), is

hereby fully and finally confirmed with respect to the following-described property, said description

being the same as in Attachment 1 to the Declaration of Taking filed herein (Doc. 2-1):

       Tree-removal rights with respect to land located in Lot No. 8, on the Plan of Geneiva
       Heights, Section 2, as shown on plat of record in Plat Book 2854, page 106, in the
       Register’s office of Davidson County, Tennessee, which description is incorporated
       herein by reference and made a part hereof. Said rights consisting of the perpetual
       right to remove, cut down, destroy, and/or otherwise dispose of any trees which in
       falling could come within five feet of any transmission line structure or conductor
       (including structures and conductors being on and over adjacent land), the Tennessee
       Valley Authority (TVA) to remain liable for any direct physical damage to said land
       and fences thereon resulting from operations by and on behalf of the TVA in the
       exercise of said rights.

       TRACT NO. SNWN-23D-CR

       The perpetual right to enter at any time and from time to time the land of Robin E.
       Willis and trim, top, cut, clear and remove, destroy or otherwise dispose of as
       necessary any trees, which in falling could come within five (5) feet of any
       transmission line structure or conductor on the South Nashville - West Nashville
       (North Loop) 161-kV Transmission Line as shown on sheet 4 of Tennessee Valley
       Authority drawing SW-9153, R.0. Being the same property conveyed to J.D.
       Lamberth and wife, Ethel B. Lamberth by Warranty Deed from Maddux Construction
       Company, Inc., of record in Book 3223, page 538, Register’s office for Davidson
       County, Tennessee, dated May 12, 1961.

       1609 Berrywood Rd, Nashville TN 37216

       This conveyance is subject to any and all existing easements and restrictions as shown
       of record.




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       4. The Clerk of this Court shall furnish to Plaintiff a certified copy of this Judgment which

shall serve as a muniment of title.

       IT IS SO ORDERED.


                                            ____________________________________
                                            WAVERLY D. CRENSHAW, JR.
                                            CHIEF UNITED STATES DISTRICT JUDGE




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